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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                            CRIMINAL ACTION

versus                                                              NO. 04-017

JOHN JOHNSON                                                        SECTION "C" (6)
HERBERT JONES, SR.
JOSEPH SMITH


                                    ORDER AND REASONS


         Before the Court is Defendant Joseph Smith’s Motion to Exclude Evidence of a Twenty-Eight

Year-Old Robbery Conviction, which the Government purports to use in support of the statutory

aggravating factor under 18 U.S.C. § 3592(c)(2) (a conviction “involving the use or attempted or

threatened use of a firearm against another person”).1 (Rec. Doc. 261). Co-defendant John Johnson

was allowed to adopt the arguments set forth in Smith’s Motion with respect to two armed robbery




         1
          The Government states that it will introduce evidence of a conviction of Mr. Smith for
armed robbery, which purportedly occurred in Texas in 1981. Defendant states that the conviction
at issue occurred in 1977 when he pleaded guilty to the charge. The Court finds it unnecessary at
present to resolve this issue of fact.


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his prior convictions .2 (Rec. Doc. 250, 251). On July 17, 2005, the Court held oral argument on

Smith’s Motion and took it under submission. (Rec. Doc. 302). Having considered the Motion, the

supporting and opposing memoranda thereto, the parties’ oral arguments, and the applicable law, the

Court hereby DENIES Defendant’s Motion. To the extent Johnson adopted Smith’s Motion, that

Motion is also DENIED.

I.     Law and Analysis

       The Government contends that § 3592(c)(2) of the FDPA clearly provides, without temporal

limitation, that a prior conviction “involving the use or attempted or threatened use of a firearm

against another person” can be introduced as an aggravating factor. While conceding the mandate

under § 3592(c)(2), Defendant asks the Court to exercise its discretion under 18 U.S.C. § 3593(c) and

exclude the underlying evidence of the previous conviction at issue because it is too remote and will

create a risk of prejudice and confusion. Defendant asserts that in other contexts, staleness factors

into the analysis when balancing the probative value versus the prejudicial effect of an old

conviction.3

       It is a canon of construction that a district court must not parse the language of a statute to

arrive at a different meaning when a reasonable interpretation is available that “avoids internal

inconsistency.” See Carrieri v. Jobs.com, Inc., 393 F.3d 508, 518 n.11 (5th Cir. 2004). While the


       2
         As to Defendant Johnson, the Government seeks admission of evidence of a 1974 armed
robbery conviction and a 1983 bank robbery conviction in support for the § 3592(c)(2) statutory
aggravator.
       3
           See, e.g., UNITED STATES SENTENCING MANUAL § 4.A1.2(e) (providing an outer
limit of either ten or fifteen years on the use of prior convictions when computing a sentence); FED.
R. EVID. 609 (restricting the use of prior convictions for impeachment of witnesses to those that date
back no more than ten years); United States v. Fields, 871 F.2d 188, 197-198 (1 st Cir. 1989) (noting
that “if the acts admitted under [FED. R. EVID. R.] 404(b) are too remote in time, this substantially
weakens the probative value and weighs in favor of exclusion).

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Court has discretionary authority to exclude unfairly prejudicial evidence under § 3593(c),4 to do so

here would undermine the apparent Congressional intent to permit the Government to use a firearms-

related conviction as a statutory aggravator with no time restrictions. Under Defendant’s statutory

interpretation of the two pertinent FDPA provisions, the Court would recognize that remote

convictions could be used as a statutory aggravator under § 3592(c)(2), and without saying so the

Court would be allowed to exclude under § 3593(c) the underlying evidence of that same conviction.

        The Court rejects such an awkward and inconsistent reading of the statute. As mentioned

above, the reasonable interpretation of § 3592(c)(2) is that the statute contains no time restrictions

because Congress intended there to be none. The Court is persuaded by the case law surrounding the

Career Criminals Amendment Act (“CCAA”) and the Armed Career Criminal Act (“ACCA”), neither

of which contains any temporal restrictions based on a plain reading of the statutes. In United States

v. Blankenship, 923 F.2d 1110, 1118 (5th Cir. 1991), the Fifth Circuit rejected an implicit temporal

restriction in the CCAA: “There is no indication, either in the statute or in the legislative history, that

Congress intended to include a temporal restriction in [18 U.S.C. § 924(e)(1)]. We refuse to construct

such a restriction out of nothing.” Blankenship, 923 F.2d at 1118. See also United States v. Preston,

910 F.2d 81, 89 (3rd Cir. 1990)(refusing to impute staleness doctrine when considering sentence

enhancement under the CCAA because plain language in 18 U.S.C. § 924(e) places “no restriction

on how recent prior convictions for violent felonies must be in order to be considered for enhancing

a defendant’s sentence. . .”); United States v. Presley, 52 F.3d 64 (4th Cir.1995) (applying similar

“plain language” statutory interpretation to the ACCA in finding no temporal limitation on prior

convictions).

        4
         “[I]nformation may be excluded if its probative value is outweighed by the danger of
creating unfair prejudice, confusing the issues, or misleading the jury.” 18 U.S.C. § 3593(c).

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       Accordingly, a categorical approach to the FDPA’s § 3592(c)(2) appropriately precludes the

Court from constructing a time limitation on firearms-related prior convictions when considering the

introduction of the statutory aggravating factor. The Court notes, however, that the Defendants are

free to take advantage of the staleness doctrine to question the weight of the factor during the

mitigation phase should either case advance to the second penalty stage. The arguably slight

probative value of a twenty-eight year old conviction5 may be asserted in tempering the

Government’s position that a previous fire-arms conviction aggravates the current offenses.

       Accordingly, IT IS ORDERED that Defendant’s Motions both be DENIED. To the extent

Johnson adopted Smith’s Motion, that Motion is also DENIED. The Government may use the

Defendants’ respective prior firearms-related convictions despite any alleged remoteness in time.

       New Orleans, Louisiana, this 8th day of August, 2005.



                         ______________________________________
                                  HELEN G. BERRIGAN
                            UNITED STATES DISTRICT JUDGE




       5
        In Defendant Johnson’s case, staleness would obviously be determined with respect to the
1974 and 1983 convictions.

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